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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WISCONSIN

CLOUD 1, LLC,
417 Pine Street
Green Bay, WI 54301

                          Plaintiff,

         v.

LA CROSSE COUNTY BOARD OF                                      Case No. 19-cv-590
SUPERVISORS,
212 6th Street North
La Crosse, WI 54601

and

LA CROSSE COUNTY, WISCONSIN,
212 6th Street North
La Crosse, WI 54601

                          Defendants.


                                            COMPLAINT

         The plaintiff, Cloud 1, LLC (“Cloud 1”), by its attorneys, Husch Blackwell LLP, for its

Complaint against the defendants, the La Crosse County Board of Supervisors (the “Board”) and

La Crosse County, Wisconsin (the “County”) (collectively, the “Defendants”) alleges:

                                       NATURE OF THE ACTION

         1.        This action arises out of the unlawful denial by the County, through its Board, of

Cloud 1’s application for a conditional use permit (“the Application”) to construct a

telecommunications tower together with related equipment, on property within the political

subdivision of the County. The Defendants’ action to deny the Application violated the

Telecommunications Act of 1996, Pub. L. No. 104-014, 110 Stat. 56 (1996), and Wis. Stat. §

66.0404.



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                                            THE PARTIES

          2.       Cloud 1 is a Wisconsin limited liability company authorized to do business within

the State of Wisconsin.

          3.       The Board is the governing body of the County and possesses decision-making

authority as to local zoning matters within the County’s political subdivision. The Board’s

majority vote is necessary to grant a conditional use permit, such as the permit involved in this

action.

          4.       The County is a political subdivision within the State of Wisconsin.

                                    JURISDICTION AND VENUE

          5.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because of federal questions arising under the Telecommunications Act of 1996, 47

U.S.C. § 151 et seq., and specifically 47 U.S.C. § 332(c). This Court has supplemental

jurisdiction over the state law claims under 28 U.S.C. § 1367.

          6.       This action presents an actual controversy under Article III of the United States

Constitution and 28 U.S.C. § 2201 because the Defendants have violated federal law, in

particular Cloud 1’s federal rights granted under the Telecommunications Act of 1996.

          7.       Venue is proper pursuant to 28 U.S.C. § 1391(b) because a substantial part of the

events or omissions giving rise to this action occurred in this judicial district.

                              REQUEST FOR EXPEDITED REVIEW

          8.       Pursuant to 47 U.S.C. § 332(c)(7)(B)(v), Cloud 1 seeks expedited review.

                                      STATEMENT OF FACTS

          9.       Federally licensed wireless communications carriers work to provide commercial

mobile radio services, personal and advanced wireless services, and other telecommunications

services, as those terms are defined under federal law, in Wisconsin, including in La Crosse

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County.        These carriers seek to facilitate the development of a wireless telecommunications

networks in keeping with the goals of the Telecommunications Act of 1996.

         10.       FirstNet|First Responder Network Authority is an independent authority within

the U.S. Department of Commerce. Authorized by Congress in 2012, its mission is to develop,

build and operate the nationwide, wireless broadband communications network that equips first

responders to save lives and protect U.S. communities. FirstNet is built in a public-private

partnership that helps ensure short and long-term needs of the public safety community in the

County.

         11.       Section 151 of the Telecommunications Act of 1996 establishes a national policy

to "make available, so far as possible, to all people of the Unites States, without discrimination

.... a rapid, efficient, nation-wide, and world-wide wire and radio communication service with

adequate facilities at reasonable charges, for the purpose of national defense, [and] for the

purpose of promoting safety of life and property through the use of wire and radio

communications." 47 U.S.C. § 151. To meet these policy goals, wireless communications

carriers seek to provide a myriad of wireless communications services to local businesses, public

safety entities, and the general public. To advance national policies enumerated under 47 U.S.C.

§ 151, wireless communications carriers must create and maintain a network of digital "cell

sites" each of which consists of antennas and related electronic communications equipment

designed to send and receive radio signals.

         12.       For many Americans, wireless devices have become an indispensable replacement

for traditional landline telephones. Even when Americans maintain both types of telephone

service, Americans are increasingly opting to use wireless devices over their landline telephones.

         13.       Unlike cellular services using analog-based systems, digital technology converts

voice or data signals into a stream of digits to allow a single radio channel to carry multiple

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simultaneous signal transmissions.        This allows wireless communications carriers to offer

services unavailable in analog-based systems, such as secured transmissions and enhanced voice,

high-speed data, paging and imaging capabilities as well as voice mail, call forwarding and call

waiting.

         14.       Wireless devices utilizing all digital technology operate by transmitting a radio

signal to antennas mounted on a tower, pole, building, or other structure. The antenna feeds the

signal to electronic devices housed in a small equipment cabinet, or base station. The base

station is connected by microwave, fiber optic cable, or ordinary telephone wire to a base station

controller, which subsequently routes calls throughout the world.

         15.       To provide reliable service to a user, coverage from cell sites must overlap in a

grid pattern resembling a honeycomb. If a wireless communications carrier cannot construct a

cell site within a specific geographic area, it will not be able to provide service to its consumers

within that area.

         16.       Engineers from the wireless communications carriers use sophisticated,

established industry standard computer programs and extensive field testing to complete a

propagation study, which shows where cell sites need to be located in order to provide service.

The propagation study also considers the topography of the land, the coverage boundaries of

neighboring cell sites and other factors. For a wireless network to perform well, cell sites must

be located, constructed and operated so reliable coverage can be achieved. Only when the entire

wireless network is operational will a mobile user have reliable service and uninterrupted

communications throughout a given territory. If there is no functioning cell site within a given

area, there will be no mobile wireless service for customers within that area, and mobile

customers who travel into that area will experience an unacceptable level of mobile wireless

service.

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         17.       Cloud 1 is engaged in the business of development, ownership and operation of

telecommunications towers which may serve as support structures for cell sites for the purpose of

providing wireless communications services in the State of Wisconsin.

         18.       Cloud 1 determined there is a gap in wireless service coverage in the Town of

Shelby, located within the County. This coverage gap is significant and must be remedied to

provide consistent, reliable wireless communications service to users who live, work, or travel

through this portion of the County, and expand the federal government’s FirstNet|First

Responder Network Authority.

         19.       Cloud 1 identified a site for a wireless communications tower that would support

wireless service coverage in the Town of Shelby area. That site is on a parcel of property owned

by D & G Servais Joint Revocable Trust dated October 14, 2011, located at W5050 Knobloch

Road in the Town of Shelby.

         20.       D & G Servais Joint Revocable Trust dated October 14, 2011 approved and

executed a lease for a portion of the W5050 Knobloch Road property with Cloud 1 to construct a

communications tower.

         21.       The W5050 Knobloch Road property is zoned Agricultural. Under the County

Zoning Code, communication towers are permitted in Agricultural zoning districts with a

conditional use permit.

         22.       Cloud 1 filed the Application to construct a 250 foot communications tower that

would support broadband internet services, expand the federal government’s FirstNet|First

Responder Network Authority and support wireless communications networks on a 10,000

square foot leased portion of the W5050 Knobloch Road property. The specific site is located

adjacent to a semi-wooded area on abutting Knobloch Road. The proposed tower is a self-

support tower that could accommodate the communications equipment of up to four (4)

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telecommunications carriers. This tower facility was designed to utilize outdoor cabinets instead

of an equipment shelter, which allows for a less obtrusive profile. The tower was to be lit to

alleviate air traffic hazards. Traffic visiting the communications facility would be infrequent.

         23.       Cloud 1’s Application fully complied with all applicable federal, state and local

laws, regulations, and ordinances, including the FCC’s regulations concerning radio frequency

emissions. The Application was recommended for approval by the County Zoning, Planning &

Land Information Department, which found the Application to be consistent with the County’s

zoning and mobile tower siting codes and applicable state and federal laws.

         24.       The Shelby Town Board discussed Cloud 1’s Application for the W5050

Knobloch Road property at its April 23, 2019 meeting, but made no recommendation concerning

the Application, realizing that authority to approve or deny it rested with the County.

         25.       The County’s Planning, Resources and Development Committee held a public

hearing on June 3, 2019 to allow public input relative to the plans for the proposed tower and to

answer related questions. Although notice of the public hearing was provided under Wisconsin

law and the County Ordinances, few residents attended the meeting, and only one resident spoke

in opposition to the proposed tower.

         26.       Immediately following the June 3, 2019 public hearing, the County Planning,

Resources and Development Committee considered Cloud 1’s Application.                 Following its

deliberation, the County Planning, Resources and Development Committee unanimously

recommended approval of the Application by a 7-0 vote.

         27.       Cloud 1 learned of at least six letters and emails submitted to the Board dated

from June 18-20, 2019.           All six of those letters opposed the Application:        five of the

communications requested the Board deny the Application based upon health concerns, and the

remaining communication requested denial based upon aesthetics.

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         28.       On June 20, 2019, Application came before the Board for consideration. The

public was not afforded the opportunity to speak at the Board meeting; however, thirteen of the

twenty-two members of the Board who voted on the Application offered comments as part of

their deliberation.

         29.       Many of the Board members who spoke on the Application did so based on health

concerns. Those members and concerns included:

                   (a)    Supervisor Rick Cornforth, who is the Chair of the Planning, Resources

         and Development Committee, indicated that he intended to reverse his Planning,

         Resources and Development Committee vote to approve the Application to a vote of

         denial at the Board level. Supervisor Cornforth cited concerns of safety and health

         concerns as the reason for changing his vote. He cited his opposition to the Application

         on his belief that the American Cancer Society was inconclusive in its findings of

         whether cell towers cause cancer.

                   (b)    Supervisor Peggy Isola also raised safety and health concerns, noting that

         she was concerned with conclusions in various American Cancer Society reports.

         Supervisor Isola also raised concerns that the topography of the W5050 Knobloch Road

         property made the proposed tower location a greater health and radio-frequency concern,

         given the conclusions of the American Cancer Society, and due to the multi-story

         condominiums near the proposed tower. Supervisor Isola expressed concern that the

         Application did not adequately address radio frequency effects to those who would come

         into close proximity of the tower. She also voiced concern that cell tower conditional use

         applications should have a greater notice requirement, due to health concerns associated

         with those installations.



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                   (c)    Supervisor Patrick Barlow expressed concern over an “annotated

         bibliography of scientific articles regarding safety” which he reviewed in conjunction

         with the Application, noting that inconclusive studies by the American Cancer Society

         does not make cell towers safe.

                   (d)    Supervisor Monica Kruse noted when neighborhood opposition exists,

         even though the law mandates safety and health concerns are not a valid reason to deny a

         cell tower application, it is in Cloud 1’s best interests to find another location, given that

         Cloud 1 would have future requests before the Board.

                   (e)    Supervisor Maureen Freedland discussed how the Application caused her

         to have concerns over safety and cancer risks, noting that a denial of the Application

         would send a message to the legislature that it needs to revisit whether towers pose a

         health and safety risk to the public.

         30.       Besides the discussions surrounding health and safety, several Board Members

discussed the potential ramifications of denying the Application, noting, among other things: (a)

whether Cloud 1 would actually commence a lawsuit against the County if the application was

denied; (b) whether notice of the Application should have exceeded the requirements under the

County Code; (c) concerns over the potential for the tower to cause damage if it fell; (d) a more

rurally located tower would accomplish the same objectives as Cloud 1’s proposal; and (e) a

denial may cause Cloud 1 to apply for a tower in a different location.

         31.       At the conclusion of the deliberation, the Board voted against Cloud 1’s

Application, with 15 members of the Board voting to deny and 7 members of the Board voting to

approve the Application.




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         32.       Nathan Sampson of the County Zoning, Planning and Land Information

Department, authored a letter dated June 28, 2019 addressed to Cloud 1, which provided written

notice of the Application’s denial by stating:

         This letter is to satisfy the notification requirements in Wisconsin Statute
         s.66.0404(2)(d)3 and 4.

         The La Crosse County Board on June 20, 2019 voted to deny Conditional Use
         Permit No. 1099 to construct a mobile service support structure on property
         owned by D&G Servais Revocable Trust, W5050 Knobloch Rd, La Crosse, WI,
         54601. This parcel is described as part of the SW/NE of Section 12, T15N, R7W,
         Town of Shelby.

         The concern for the safety, health and welfare of the general public through the
         transmission of electromagnetic radiation is the reason the Board denied this
         application. The results of numerous studies regarding transmission of
         electromagnetic radiation are inconclusive regarding the health impacts on the
         general public.

         33.       The Telecommunications Act of 1996 expressly preempts local governments from

regulating the placement and construction of wireless telecommunications facilities based on

concerns of health risks from radio frequency emissions. Indeed, at the June 3, 2019, the County

Planning, Resources and Development Committee meeting, the Committee was reminded that

health risks could not be used to evaluate the location of communications towers. County

Deputy Corporation Counsel Amy Flottmeyer also reminded the Board on numerous occasions

during its June 20, 2019 deliberations that the Board could not regulate cell towers via

environmental testing, sampling monitoring or radio frequency/safety concerns.

         34.       In 2015, Verizon Wireless also filed a conditional use permit application to

construct a wireless communications tower at the W5050 Knobloch Road property. The County

Planning, Resources and Development Committee held a public hearing on Verizon Wireless’

application on September 28, 2015, and on that same date, the County, Planning, Resources and

Development Committee unanimously recommended approval of the proposed tower by a 7-0


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vote. Thereafter, the Board considered Verizon Wireless’ conditional use application on October

15, 2015, unanimously approving the proposed tower by a 25-0 vote.

         35.       Verizon Wireless never constructed a tower pursuant to the conditional use

approval granted by the Board. However, given the Board’s unanimous approval of Verizon

Wireless’ proposed tower on the W5050 Knobloch Road property, the Board’s subsequent denial

of Cloud 1’s Application is arbitrary, capricious, oppressive and otherwise unreasonable, and the

evidence surrounding Cloud 1’s Application was such that the Board could not reasonably or

legally deny Cloud 1’s Application.

                                    FIRST CLAIM FOR RELIEF
                  (Violation of 47 U.S.C. § 332(c)(7)(B)(iii) – Substantial Evidence)

         36.       Cloud 1 restates and incorporates by reference the allegations above.

         37.       The Board’s denial of the Cloud 1’s Application for a conditional use permit

violates the Telecommunications Act of 1996 because it is not supported by substantial evidence

in a written record.

         38.       As result of the Board’s decision to deny the Application, Cloud 1 has suffered

and will continue to suffer irreparable harm.

                               SECOND CLAIM FOR RELIEF
    (Violation of 47 U.S.C. § 332(c)(7)(B)(iv) – Improper Consideration of Health Effects)

         39.       Cloud 1 restates and incorporates by reference the allegations above.

         40.       The Board’s denial of the Application violates the Telecommunications Act of

1996 because it was based on the environmental effects of radio frequency emissions. 47 U.S.C.

§ 332(c)(7)(B)(iv).

         41.       As a result of the Board’s decision to deny Cloud 1’s Application, Cloud 1 has

suffered and will continue to suffer irreparable harm.



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                                  THIRD CLAIM FOR RELIEF
         (Violation of Wis. Stat. § 66.0404 and Wisconsin State Law Certiorari Review)

         42.       Cloud 1 restates and incorporates by reference the allegations above.

         43.       The Board’s denial of Cloud 1’s Application violated Wis. Stat. § 66.0404(2)(d)4.

and state common law entitling Cloud 1 to certiorari review from this Court because:

                   (a)    The Board proceeded on one or more incorrect theories of law;

                   (b)    The Board’s decision was arbitrary, oppressive and unreasonable and

         represented its will and not its judgment; and

                   (c)    The Board’s decision was not based on substantial evidence in the record.

         44.       As a result of the Board’s decision denying the Application, Cloud 1 has suffered

and will continue to suffer irreparable harm.

         WHEREFORE, Cloud 1 respectfully requests the following relief:

         A.        Expedited review and disposition of this action pursuant to 47 U.S.C.

§ 332(c)(7)(B)(v);

         B.        An Order from this Court declaring that Defendants violated 47 U.S.C.

§ 332(c)(7)(B)(iii) by failing to support their denial of the Application with substantial evidence

in the written record;

         C.        An Order from this Court declaring that Defendants violated Wis. Stat. § 66.0404;

         D.        An injunction requiring that the Board grant Cloud 1’s application for a

conditional use permit as proposed;

         E.        An award of Cloud 1’s costs, including such reasonable attorney’s fees as may be

allowable under law; and

         F.        Such other and further relief as this Court may deem just and proper.




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Date: July 22, 2019


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